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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------X
KEVIN D. MEYER, individually and on    :
behalf of all others similarly         :
situated,                              :
                                       :
                      Plaintiff,       :     19 Civ. 2304 (VM)
                                       :
     - against -                       :         ORDER
                                       :
UNITED MICROELECTRONICS CORP., et al., :
                                       :
                      Defendants.      :
--------------------------------------X
VICTOR MARRERO, United States District Judge.

     The Court will hold a hearing in the above-captioned matter on

Friday, January 15, 2021 at 10:00 a.m. Due to the ongoing COVID-19

pandemic, the hearing will take place by teleconference using the

following dial-in: (888) 363-4749 (international callers dial (215)

446-3662), access code 8392198.

     The    parties   are   directed   to    review   the   Court’s   Emergency

Individual Rules and Practices in Light of COVID-19, available on the

Court’s website: https://www.nysd.uscourts.gov/hon-victor-marrero.

SO ORDERED.

Dated:      New York, New York
            11 January 2021
                                            ________________________
                                                 VICTOR MARRERO
                                                     U.S.D.J.
